              Case 23-90147 Document 1300 Filed in TXSB on 08/17/23 Page 1 of 9



                                       UNITED STATES BANKRUPTCY COURT
                                         SOUTHERN DISTRICT OF TEXAS
                                               HOUSTON DIVISION


    In re:                                                                Chapter 11

    MOUNTAIN EXPRESS OIL COMPANY,                                         Case No. 23-90147 (DRJ)
    et al. 1

              Debtors.                                                    (Jointly Administered)


                           FORTUNA INVESTMENTS 100’S EMERGENCY
                        MOTION FOR RELIEF FROM THE AUTOMATIC STAY


              Emergency relief has been requested. Relief is requested no later than 5:00
              p.m. on August 18, 2023.

              If you object to the relief requested or you believe that emergency
              consideration is not warranted, you must appear at the hearing if one is set or
              file a written response prior to the date that relief is requested in the preceding
              paragraph. Otherwise, the Court may treat the pleading as unopposed and
              grant the relief requested.

              Fortuna Investments 100, LLC, previously known as VAULT CS 100 SERVICE LLC

    (“Fortuna”) files this Emergency Motion for Relief from the Automatic Stay (the “Motion”).

    In support of the Motion, Fortuna would respectfully show as follows:

                                                        RELIEF REQUESTED

             1.       Fortuna is a landlord and seeks an order (i) granting it relief from the automatic stay

    so that Fortuna may immediately exercise all of its rights under its Lease (defined below) and under

    applicable non-bankruptcy law, including serving notice of defaults, terminating the Lease and

    exercising its right to evict the Debtors from the Leased Premises (defined below); and (ii) ordering the

    Debtors to vacate the Leased Premises within three (3) days of the date this Motion is approved.



1     A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’ claims and noticing agent   at
      www.kccllc.net/mountainexpressoil. The location of Debtor Mountain Express Oil Company’s principal place of business and the
      Debtors’ service address in these Chapter 11 cases is 3650 Mansell Road, Suite 250, Alpharetta GA 30022.
                                                                         1
       Case 23-90147 Document 1300 Filed in TXSB on 08/17/23 Page 2 of 9



      2.       Fortuna further requests that this Motion be deemed written notice to the Debtors

pursuant to the Lease of the intent to exercise remedies.

      3.       As further set forth below, Fortuna contends relief is proper as to the Lease and the

Leased Premises under 11 U.S.C. § 362(d)(1) and/or (d)(2) because: (i) the Debtors have defaulted

under the Lease; (ii) the Debtors have not made post-petition Lease payments for August 2023; (iii)

the Debtors own no equity in the Lease or Leased Premises; (iv) there are multiple non-monetary

defaults under the Lease; (v) the Leased Premises is not necessary for an effective reorganization;

(vi) the Debtors have not demonstrated any intent to keep and assume the lease; (vii) no buyer has

shown an interest in acquiring and assuming the Lease, and (viii) the Debtors may be without cash

to adequately protect Fortuna and the Leased Premises.

      4.       Fortuna further requests that the Court waive the 14-day stay provided for under

Federal Rule of Bankruptcy Procedure 4001(a)(3) to enable Fortuna, its successors and assigns, to

immediately enforce and implement the terms of the proposed order granting relief from the

automatic stay as to the lease and Leased Premises. Such waiver is necessary so Fortuna can

protect its property—the Leased Premises and to allow Fortuna to immediately try to release the

property. In addition, Fortuna has serious concerns as to the security of the Leased Premises if

Debtors leave it unattended or not operating.

                                         JURISDICTION

      5.       The United States Bankruptcy Court for the Southern District of Texas (this

“Court”) has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and 1334. This is

a core proceeding pursuant to 28 U.S.C. § 157(b). Venue in these cases and this Motion in this

District is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The predicates for the relief requested

herein are section 362 of title 11 of the United States Code (the “Bankruptcy Code”) and Rule 4001(a) of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).


                                                  2
         Case 23-90147 Document 1300 Filed in TXSB on 08/17/23 Page 3 of 9



                                            BACKGROUND

         A.     The Lease

         6.     Prepetition, the parties and/or affiliated entities entered into a lease agreement (the

 “Lease”) with Vault CS 100 Service LLC (“Vault”) as Landlord and Mountain Express Oil

 Company, Debtors, as Tenant effective January 8, 2019. Thereafter, Vault assigned its interest in

 the Lease to Fortuna. Debtors owe Fortuna monthly rent payments due on the first day of each

 month as expressed in the Lease (the “Rent Payments”); Debtors hold possession of the real

 property located at 100 N. Service Road W., Ruston, LA 71270 (the “Leased Premises”) under the

 Lease as of the date of this Motion.

         B.     The Bankruptcy

        7.      On March 18, 2023 (the “Petition Date”), Mountain Express Oil Company and its

affiliates (the “Debtors”) filed voluntary petitions for relief under Chapter 11 of the United States

Bankruptcy Code (the “Bankruptcy Code”) which are jointly administered. The Debtors are

continuing to operate and manage its properties as debtors in possession.

         8.     On June 16, 2023, the Debtors filed its Emergency Motion for Entry of Orders (A)(I)

Authorizing Asset Purchase Agreement for Sale of Substantially All of Debtors’ Assets, (II) Approving Bid

Procedures for Sale of Debtors Assets, (III) Approving Bid Procedures for Sale of Debtors Assets, (III)

Approving Bid Protections, (IV) Scheduling Certain Dates with Respect Thereto, (V) Approving the Form and

Manner of Notice Thereof, and (VI)Approving Contract Assumption and Assignment Procedures; (B)

Approving (I)Sale of Certain Assets Free and Clear of Liens, Claims, Encumbrances, and Other Interests, and

(II) Assumption and Assignment of Certain Contracts and Lease; and (C) Granting Related Relief [Docket

No. 536] (the “Sale Motion”). The Court approved bid procedures on June 22, 2023.

        9.      After engaging in a marketing process, the Debtors conducted an auction of their assets

from August 2, 2023 to August 4, 2023 and as provided in the Debtors’ Post-Auction Report [Docket No.

1194] the Debtors received a total of 16 bids but intended on moving forward with a proposal from GPM


                                                     3
         Case 23-90147 Document 1300 Filed in TXSB on 08/17/23 Page 4 of 9



Investments, LLC (“GPM”) for the sale of substantially all of the Debtors’ assets for $49 million (the

“Transaction”).

        10.       The DIP Lender in this case ceased funding and did not agree to the further use of cash

collateral. On August 7, 2023, rather than conducting a hearing on the Debtors Sale Motion, the Court

conducted a hearing on the Debtors’ Emergency Amended Motion for Entry of Interim and Final Orders (A)

Authorizing the Use of Cash Collateral, (B) Providing Adequate Protection, (C) Modifying the Automatic

Stay, and (D) Scheduling a Final Hearing [Docket No. 1196] (the “August 7 Hearing”). The Debtors

announced that the Auction results were inconclusive.

        11.       At the August 7 Hearing, the Debtors announced that pursuant to the Transaction, with

respect to the non-Reit Landlords the Debtors intended to notify each of those landlords that its Lease will be

rejected as of August 31, 2023. This includes the Lease with Fortuna. The Transaction was not approved.

        C.        Post-Petition Defaults

        12.        While the Debtors have continued to occupy the Leased Premises under the Lease,

the Debtors have failed to maintain their post-petition rental obligations.

        13.        Pursuant to the Lease, the Debtors are obligated to make monthly lease payments

(“Rental Payments”). The Debtors have not made any Rental Payments to Fortuna under the Lease

for August 2023.

        14.       The Debtors failed to remit Rental Payments in the total amount of $17,348.55 and are in

post-petition default under the Lease. Apparently, the Debtors have no intention of paying this rent or curing

these post-petition defaults. It appears that The Debtors are without cash to run their businesses and may be

administratively insolvent. Fortuna objects to and does not agree to waive or defer any part of Debtors’ rent.

        15.        Additionally, Fortuna is concerned about nonmonetary defaults, including security

issues at the Leased Premises. The Debtors continue to possess this property but have ceased

operations. and have failed to pay for post-petition operating costs thereby violating 11 U.S.C. §

365(d)(3).


                                                      4
        Case 23-90147 Document 1300 Filed in TXSB on 08/17/23 Page 5 of 9



The Debtors have presented no proposal and taken no other action by which they would cure any

of the post-petition amounts owing to Fortuna.

                           TERMINATION OF AUTOMATIC STAY

       16.       Fortuna requests entry of an order pursuant to 11 U.S.C. § 362(d)(1) and (d)(2),

lifting the automatic stay to permit Fortuna to exercise any and all of its non-bankruptcy contractual

and legal rights and remedies under the Lease and under applicable law, including but not limited to

taking possession of the Leased Premises and evicting the Debtors (the “Order”). Fortuna further

requests that the Court order the Debtors to vacate the Leased Premises within three (3) days of the

entry of the Order. Also, Fortuna requests that the Court waive the requirements of Bankruptcy Rule

4001(a)(3) and direct that the Order granting the requested relief be effective immediately.

       I.       Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362(d)(1).

         17.     Cause exists to grant Fortuna relief from the automatic stay pursuant to 11 U.S.C.

 § 362(d)(1).

                 Section 362(d)(1) of the Bankruptcy Code provides:

                 (d) On request of a party in interest and after notice and a hearing, the court
                 shall grant relief from the stay provided under subsection (a) of this section,
                 such as by terminating, annulling, modifying, or conditioning such stay—

                        (1) for cause, including the lack of adequate protection of an interest
                        in property of such party in interest;

       18.       The Debtors cannot provide Fortuna adequate protection of its property, the Leased

Premises. As of the filing of this Motion, the Debtors owe $17,348.55 in post-petition rental

payments under the Lease.

       19.       The Debtors have not timely performed post-petition obligations under the Lease.

See 11 U.S.C. § 365(d)(5) and have advised that lease rejection is imminent. Failure to pay post-

petition obligations is grounds for lifting the automatic stay.



                                                   5
       Case 23-90147 Document 1300 Filed in TXSB on 08/17/23 Page 6 of 9



In re Mad Lolo LLC, 2009 LEXIS 1333 (Bankr. S.D. N.Y. May 29, 2009) (where a security deposit

is smaller than the amount of past due prepetition rent, landlord will not be adequately protected if

debtor falls further behind in post-petition rent obligations); In re Tammy Jewels, Inc., 116 B.R.

292, 294 (Bankr. M.D. Fla. 1990). If the rent is not timely paid by a debtor in possession, a landlord

has the option to file a motion seeking relief from the automatic stay to enforce the lease and to

protect the landlord’s property. This Debtor’s failure to pay post-petition rent, and the absence of

evidence of Debtor’s desire or attempt to cure, or to provide adequate protection to Fortuna is

“cause” to lift the stay per section 362(d)(1)); see also In re Mr. Gatti’s, 164 B.R. 929, 944 (Bankr.

W.D. Tex. 1994).

      20.       Failure to timely pay rent is a default. Lack of cash and no intent to assume the

Lease and the failure and inability or desire to protect the Leased Premises is cause to lift the stay.

The estate is in extremis and Fortuna should not be at risk because of the Debtor’s collapse and

their business and chapter 11 failures.

       21.      For the above reasons, granting Fortuna relief from the automatic stay pursuant to

11 U.S.C. § 362(d)(1) is proper.

      II.     Relief from the Automatic Stay Pursuant to 11 U.S.C. § 362(d)(2).

      22.       Granting Fortuna relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(2)

is proper because the Debtors do not have any equity in the Leased Premises and the Leased

Premises is not necessary for an effective reorganization.

                Section 362(d)(2) of the Bankruptcy Code provides:

                (d) On request of a party in interest and after notice and a hearing, the court
                shall grant relief from the stay provided under subsection (a) of this section,
                such as by terminating, annulling, modifying, or conditioning such stay—

                                                  *       *       *

                       (2) with respect to a stay of an act against property under section (a)
                       of this section, if—
                                                  6
         Case 23-90147 Document 1300 Filed in TXSB on 08/17/23 Page 7 of 9




                                   (A) the debtor does not have an equity in such property; and

                                   (B) such property is not necessary to an effective
                                   reorganization . . . .

        23.      The Debtors lack equity in the Leased Premises. The Debtors failed to make $17,348.55 in

 Rental Payments post-petition.

        24.       The Leased Premises is not necessary for an effective reorganization and the

 continued accrual of post-petition administrative expense rent only continues to further increase

 the burden on the Debtors’ estate which may be without cash and may be administratively

 insolvent.

        25.       For the above reasons, granting Fortuna relief from the automatic stay pursuant to

11 U.S.C. § 362(d)(2) is proper.

        III.     Waiver of Fourteen Day Stay

        26.       Fortuna requests that the fourteen (14) day stay provided in Federal Rule of

 Bankruptcy Procedure 4001(a)(3) be waived to enable Fortuna to protect the Leased Premises and

 to immediately enforce its right under the Lease and applicable law and to implement the terms of

 the proposed order.

                                   EMERGENCY CONSIDERATION

        27.      Post-petition rent continues to accrue on a daily basis and is an administrative burden to the

estate. Based on the Debtors’ admissions and the circumstances of the case, the Debtors not only cannot pay

the post-petition rent, but also have no intention of satisfying such obligations to maintain the Lease. Despite

these extreme circumstances, Debtors have still failed to terminate or reject Fortuna’s Lease. By not

immediately terminating the Lease, the Debtors are forcing Fortuna to involuntarily extend unsecured credit

to keep and subsidize the Debtors’ failed enterprise. Fortuna rejects this effort. The Debtors do not have a

means for paying current and future accruing post-petition rent. The Debtors have admitted in their budget no

further intention of paying past-due post-petition rent. As post-petition rent continues to accrue, Fortuna’s lack

                                                        7
         Case 23-90147 Document 1300 Filed in TXSB on 08/17/23 Page 8 of 9



of adequate protection worsens. Fortuna has grave concerns regarding the security of its Leased Premises and

how any damage will impact property values and business operations. Fortuna respectfully requests

emergency consideration of this Motion on or before August 18, 2023, no later than 5:00 p.m., so that if the

Motion is granted in full, the Debtors will vacate the Leased Premises, immediately reject the Lease, and

thereby allow Fortuna to protect itself and its property. Fortuna also requests authority to immediately secure

the Leased Premises so that Fortuna may avoid potential losses and prevent property damage.

                                              CONCLUSION

        WHEERFORE PREMESIS CONSIDERED, Fortuna seeks entry of an order (i) granting it

 the relief requested herein; and (ii) granting such other and further relief as just and proper.



                                                          Respectfully submitted,

                                                          PARKINS & RUBIO LLP


                                                          /s/ Lenard M. Parkins
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                                                          Counsel to Fortuna Investments100, LLC




                                                      8
        Case 23-90147 Document 1300 Filed in TXSB on 08/17/23 Page 9 of 9



                                    Certificate of Conference

       Pursuant to Local Rule 4001-1(a) and 9014-1(d)(1), the undersigned certifies that on August
17, 2023, the undersigned was in contact with counsel for the above-captioned Debtors and the
appointed Chapter 11 Trustee via telephone regarding relief from the automatic stay. Counsel for
the Debtors made no objection and stated that counsel is withdrawn from the case. The Chapter 11
Trustee did not respond to e-mail or voicemail requests. A copy of this Motion was emailed to the
Debtors’ Counsel and the Chapter 11 Trustee at 12:13 pm

       As of the filing of this Motion, no agreement with the Chapter 11 Trustee exists on the relief
requested herein.

                                                     /s/ Moira Cooper
                                                     Moira Cooper



                                       Certificate of Service

         I certify that on August 17, 2023, I caused a copy of the foregoing document to be served
 by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
 District of Texas. I also served a copy of the foregoing document on the Chapter 11 Trustee by
 electronic mail as follows:

        Janet S. Northup
        Hughes Watters Askanase, LLP
        1201 Louisiana Street, 28th Floor
        Houston, TX 77002
        jnorthup@hwa.com


                                             /s/ Moira Cooper
                                             Moira Cooper




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